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McDERMOTT WILL & EMERY LLP
ELLIE HOURIZADEH (SBN 204627)
2049 Century Park East, 38th Floor

Los Angeles, CA_ 90067-3208
Telephone: 310.277.4110

Facsimile: 310.277.4730
ehourizadeh@mwe.com

for Defendant,
& GABBANA S.r.L.

Attorne
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UNITED STATES DISTRICT coutr
CENTRAL DISTRICT OF CALIFORNIA

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CHRISTIAN MONZON, an individual,
Plaintiff,
V.
DOLCE & GABBANA S.r.L., an
Italian company; and DOES 1-10,
inclusive,

Defendants.

 

 

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1446, 1447
and 1453, defendant Dolce & Gabbana S.r.L. (“DG”) hereby removes the above-
captioned action, presently pending in the Superior Court of the State of California
for the County of Los Angeles as Case No. BC482160, to the United States District

Court for the Central District of California. As grounds for removal to this Court,

DG states as follows:

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CASE NO.

DEFENDANT DOLCE &
GABBANA S.r.L.’s NOTICE OF
REMOVAL; DECLARATION OF
ELLIE HOURIZADEH IN
SUPPORT THEREOF

[28 U.S.C. §§ 1332, 1446, 1447, 1453]

{Los Angeles Superior Court .
ase No- BC482160]

 
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FACTUAL BACKGROUND

1. On April 5, 2012, plaintiff Christian Monzon (‘‘Plaintiff’) filed this
action in the Superior Court of the state of California for the county of Los Angeles
entitled Christian Monzon v. Dolce & Gabbana S.r.L., et al., Case No. BC482160.
A true and correct copy of Plaintiff's Complaint is attached hereto as Exhibit A.

2. In the Complaint, Plaintiff claims that DG wrongfully used Plaintiff's
image without Plaintiff's consent (Compl. at § 7.)

3. True and correct copies of all documents filed in the state court action,
are attached hereto as Exhibit B.

4, On April 26, 2012, Plaintiff served a copy of the Complaint and
summons on DG by FedEx courier. Service was complete on May 4, 2012. This
Notice of Removal is timely under 28 U.S.C. § 1446(b) because it is filed within 30
days after service was complete on any defendant.

5. There are no other defendants named in Plaintiffs Complaint.

6. This Court is the appropriate court to which the action must be
removed because it is part of the “district and division embracing the place where”
Plaintiff filed this action in Los Angeles, California. 28 U.S.C. § 1446(a).

7. A copy of this Notice of Removal will be filed contemporaneously
with the Clerk of the Superior Court of the State of California for the County of Los
Angeles, and will be served contemporaneously on all counsel of record, as
required by 28 U.S.C. § 1446(d).

JURISDICTION

8. A federal court has “original jurisdiction of all civil actions where the
matter in controversy exceeds the sum or value of $75,000, exclusive of interest and
costs, and is between — (1) citizens of different States.” 28 U.S.C. 1332(a)(1).
“[A]ny civil action brought in a State Court of which the district courts of the
United States have original jurisdiction, may be removed by the defendant.” 28

U.S.C. 1441(a). Therefore, a state court action may be removed (1) if a named

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plaintiff is a citizen of a state different from any defendant, and (2) the matter in
controversy exceeds the sum of $75,000, exclusive of interest and costs.
Requirement No. 1: Plaintiff is a Citizen of a State Different than Defendant.

9. Plaintiff is a citizen of the state of California. (Compl. at ¥ 1.)

10. DG is organized and exists under the laws of the Republic of Italy,
with its principal place of business in Milan, Italy. (Compl. At 42) (Hourizadeh
Decl. at {§[2-3.) Accordingly, at all relevant times, DG was a citizen of the
Republic of Italy. 28 U.S.C. § 1332(c)(1).

11. The supposed defendants named as “DOES 1-10, inclusive” are sued
under fictitious names whose alleged citizenship is to be disregarded. 28 U.S.C. §
1444.

12. The diversity requirement of 28 U.S.C. 1332(a)(1), therefore, is
satisfied.

Requirement No. 2: The Amount-in-Controversy Exceeds $75,000.

13. Plaintiff's Complaint does not specify a monetary demand. (See
Compl. in passim.) Therefore, defendant’s burden is to demonstrate, bya
preponderance of the evidence, that Plaintiff is demanding in excess of $75,000.
Sanchez v. Wal-Mart Stores, Inc., 2007 U.S. Dist. LEXIS 33746, at *3 (E.D. Cal.
May 8, 2007) (citing Singer v. State Farm Mut. Ins. Co., 116 F.3d 373, 376 (9th
Cir. 1997). The amount-in-controversy requirement “is what amount is put ‘in
controversy’ by the plaintiffs complaint, not what a defendant will actually owe.”
Korn v. Polo Ralph Lauren Corp., 2008 U.S. Dist. LEXIS 15134 at *12 (E.D. Cal.
Feb. 27, 2008) (citing Rippee v. Boston Market Corp., 408 F. Supp. 2d 982, 986
(S.D. Cal. 2005)); see also Brill v. Countryside Home Loans, Inc., 427 F.3d 446,
449 (7th Cir. 2005) (“[t]hat the plaintiff may fail in its proof, and the judgment be
less than the threshold (indeed, a good chance that the plaintiff will fail and the
Judgment will be zero) does not prevent removal.”).

14, Plaintiffs causes of action allege: (1) violation of common law

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misappropriation of likeness, (Compl. at §§ 8-14); (2) violation of California Civil
Code §3344, (Compl. at {J 15-22); and (3) restitution for unjust enrichment,
(Compl. at JJ 23-26).

15. Plaintiff seeks the following forms of monetary relief for its claims:
(1) actual damages; (2) statutory damages; (3) punitive damages; (4) attorneys’ fees
and costs; (5) pre-judgment interest; and (6) “such other, further, and different legal
or equitable relief as the Court deems proper under the circumstances.” (Compl. at
pg. 8).

16. DG can demonstrate, beyond a preponderance of the evidence, that
Plaintiff has placed in controversy an amount in excess of $75,000.

17. In a settlement letter to DG’s counsel dated May 30, 2012, Plaintiff stated
its belief that the amount-in-controversy in this suit is “easily in excess of
$600,000.”

18. Accordingly, the amount-in-controversy requirement of 28 U.S.C.
1332(a)(1) is satisfied.

WHEREFORE, DG respectfully removes this action from the Superior
Court of the State of California for the County of Los Angeles, Case
No. BC482160, to the United States District Court, Central District of California.

DG further prays that: (1) this Court proceed in this action pursuant to 28 U.S.C. §
1447 as if this action had been originally been filed in this Court, and (2) that

further proceedings in the state court action be stayed in all respects.

Dated: June 4, 2012 McDERMOTT WILL & EMERY LLP

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ELLIE HOURIZADEH
Attorney for Defendant
DOLCE & GABBANA S.r.L.

 

' DG will submit a copy of the settlement letter to the Court under seal, if required.

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MCDERMOTT WILL & Emery LLP

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DECLARATION OF ELLIE HOURIZADEH

I, Ellie Hourizadeh, declare and state as follows:

l. I am an attorney duly licensed to practice law in the state of California
and before this Court. I am a partner with the law firm of McDermott Will &
Emery LLP, counsel of record for Dolce & Gabbana S.r.L. (“DG”). I submit this
declaration in support of DG’s Notice of Removal. I have personal knowledge of
the matters set forth herein and, if called upon as a witness, I could and would
competently testify to the statements made in this declaration.

2. Attached as Exhibit C to the Notice of Removal is a true and correct
copy ofa print out from DG’s website. The print out identifies the headquarters
and principal place of DG as 10 — 20129 Via Carlo Goldoni, Milan, Italy.

3. I also confirmed with a DG executive that DG is in fact organized
under the laws of the Republic of Italy and its principal place of business is located
at 10 — 20129 Via Carlo Goldoni, Milan, Italy. I was unable to obtain a declaration
signed by an executive of DG because the executives with signatory powers were
not able to be reached prior to the filing of the Notice of Removal.

I declare under penalty of perjury, pursuant to the laws of the United States
of America, that the foregoing is true and correct and that this declaration was

executed on June 4, 2012, in Los Angeles, California.

=H PHL

Ellie Hourizadeh

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Exhibit A
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Neville L. Johnson (SBN 66329)
JOHNSON & JOHNSON LLP

Beverly Hills, California 90210
Telephone: (310) 975-1080

THE HAMIDEH FIRM, P.C.

Los Angeles, California 90067
Telephone: (310) 556-9687
Facsimile: (310) 733-5699
Email:

Attorneys for Plaintiff,
CHRISTIAN MONZON

Plaintiff,
vs.

DOLCE & GABBANA S.r.L, an
Italian Company; and DOES 1- 10,
inclusive,

Defendants.

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Douglas L. Johnson (SBN 209216)
439 North Canon Drive, Suite 200

Bassil A. Hamideh (SBN 261233)

Page 7of51 Page ID #:9

CONFORMED COPY

ORIGINAL FILED
SUPERIOR COURT OF CALIFORNIA
COUNTY OF LOS ANGELES

APR 05 2012

Facsimile: (3 1 0) 975-1095 John A. Clapkey Executive Officer/Clerk
Email: njohnson@)jllplaw.com BV Runlina bony
djohnson@)jjllplaw.com ihaylla Char

1801 Century Park East, Suite 2400

bhamideh@hamidehfirm.com

SUPERIOR COURT FOR THE STATE OF CALIFORNIA

COUNTY OF LOS ANGELES
CHRISTIAN MONZON, an CASE NO. BC482160
individual,
COMPLAINT FOR:

1. COMMON LAW
MISAPPROPRIATION OF LIKENESS;

2. VIOLATION OF CALIFORNIA CIVIL
CODE §3344 (STATUTORY
MISAPPROPRIATION OF
LIKENESS); and

3. RESTITUTION FOR UNJUST
ENRICHMENT.

 

DEMAND FOR JURY TRIAL

 

 

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Plaintiff Christian Monzon alleges on information and belief as follows:

l. Plaintiff Christian Monzon (“Monzon” or “Plaintiff’) is, and at all
relevant times was, an individual who resides in the County of Los Angeles.

2. Defendant Dolce & Gabbana S.r.L. (“Dolce Gabbana”), on
information and belief, is, and at all relevant times was, an Italian company that
regularly conducts business in the County of Los Angeles. The Court has personal
Jurisdiction over Dolce Gabbana because Dolce Gabbana continuously and
systematically conducts substantial business throughout Los Angeles County and
the State of California by advertising, marketing, offering for sale, and selling its
goods to wholesalers, retailers, and individuals who reside in Los Angeles County.
Dolce Gabbana also conducts business online via an interactive website by which it
advertises, markets, offers for sale, and sells its goods to wholesalers, retailers, and
individuals who reside in Los Angeles County at www.dolcegabbana.com. Further,
Dolce Gabbana was aware that Plaintiff resided in Los Angeles County and that its
conduct described herein has caused injury to Plaintiff in Los Angeles County.
Further, Dolce Gabbana previously consented to jurisdiction in Los Angeles,
California in the United States District Court for Central District of California case
of Asics Corporation et al. v. Dolce & Gabbana, S.r.L, et al., Case No. CV 08-
006407-AHM.

3. Defendants Does | through 10 are sued herein by fictitious names for
the reason that their true names are unknown to Plaintiff. Plaintiff will seek to
leave to amend this complaint to allege the true names and capacities of these
Defendants when the same have been ascertained. Plaintiff is informed and
believes and based thereon alleges that these fictitiously named Defendants are
responsible in some manner for the actions and damages alleged herein.

4, Plaintiff is further informed and believes and based thereon alleges

that Defendants at all times herein alleged were the agents, employees, servants,

joint venturers and/or co-conspirators of each of the other remaining Defendants,

 

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and that in doing the things herein alleged were acting in the course and scope of
such agency, employment, joint venture and/or conspiracy.

5. Plaintiff is further informed and believes and based thereon alleges
that the acts and conduct herein alleged of each such Defendant were known to,
authorized by, directed by, and/or ratified by the other Defendants, and each of
them, and the officers, directors and/or managing agents of Dolce Gabbana and that
they acted in conspiracy with each other so all of said Defendants are jointly and

severally liable to Plaintiff hereunder.

ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
6. Plaintiff is a highly successful male model who is recognizable from
his appearances in worldwide advertising campaigns. He is widely known as a
highly recognizable model whose endorsement has significant commercial value.
7. After December 31, 2011, Dolce Gabbana used Plaintiff’s image
without Plaintiff's consent for purposes of advertising Dolce Gabbana’s product

called Dolce Gabbana Classico Fragrance as depicted below.
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FIRST CAUSE OF ACTION
COMMON LAW MISAPPROPRIATION OF LIKENESS
(Against All Defendants)

 

8. All previous allegations are realleged and incorporated herein by
reference.
9. Defendants used Plaintiff's image without his permission in order to

promote the Dolce Gabbana Classico Fragrance.

10. Defendants’ use of Plaintiff's image after December 31, 2011 was
without his consent or authorization.

11. Defendants’ knowing use of Plaintiff's image to promote the Dolce
Gabbana Classico Fragrance was to Defendants’ commercial or other benefit.

12. Asa proximate result of the foregoing, Plaintiff has suffered actual
damages, including emotional distress damages, in an amount according to proof at
trial but in any event in excess of the jurisdictional threshold of the Superior Court.
In addition, Defendants have been unjustly enriched by the use of Plaintiff's image.
Therefore, Plaintiff seeks disgorgement of profits and/or that a constructive trust be
imposed on the monies obtained by Defendants from the unauthorized use.

13. Defendants’ conduct as described herein was done with a conscious
disregard of the rights of Plaintiff, with the intent to vex, annoy, and/or harass
Plaintiff and to unjustly profit from Plaintiff's image. Such conduct was
unauthorized and constitutes oppression, fraud, and/or malice under California Civil
Code §3294, entitling Plaintiff to an award of punitive damages in an amount
appropriate to punish or set an example of the Defendants in an amount to be
determined at trial.

14. The harm these wrongful acts will cause to Plaintiff is both great and
irreparable. The conduct described above is ongoing, and injunctive relief is
necessary to prevent and restrain further use of Plaintiff's image by Defendants.

Plaintiff requests that the Court enter preliminary and permanent injunctions to

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prohibit Defendants from using Plaintiff's image in connection with Dolce Gabbana

Classico Fragrance and any other related Dolce Gabbana products in all media.

SECOND CAUSE OF ACTION
VIOLATION OF CAL. CIVIL CODE §3344
(Against All Defendants)

15. All previous allegations are realleged and incorporated herein by
reference.

16. Defendants knowingly used Plaintiff's image without his permission
for purposes of advertising and solicitation of the Dolce Gabbana Classico
Fragrance.

17. Defendants’ use of Plaintiff's image after December 31, 2011 was
without his consent or authorization.

18. Defendants’ knowing use of Plaintiff's image to promote the Dolce
Gabbana Classico Fragrance was for purposes of advertising or selling or soliciting
purchases of products.

19. As a proximate result of the foregoing, Plaintiff has suffered actual
damages, including emotional distress damages, in an amount according to proof at
trial but in any event in excess of the jurisdictional threshold of the Superior Court.
In addition, Defendants have been unjustly enriched by the use of Plaintiff's image.
Therefore, Plaintiff requests that a constructive trust be imposed on the monies
obtained by Defendants from the unauthorized use.

20. Defendants’ conduct as described herein was done with a conscious
disregard of the rights of Plaintiff, with the intent to vex, annoy, and/or harass
Plaintiff and to unjustly profit from Plaintiff's image. Such conduct was
unauthorized and constitutes oppression, fraud, and/or malice under California Civil
Code §3294, entitling Plaintiff to an award of punitive damages in an amount

appropriate to punish or set an example of the Defendants in an amount to be

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determined at trial.

21. The harm these wrongful acts will cause to Plaintiff is both great and
irreparable. The conduct described above is ongoing, and injunctive relief is
necessary to prevent and restrain further use of Plaintiffs image by Defendants.
Plaintiff requests that the Court enter preliminary and permanent injunctions to
prohibit Defendants from using Plaintiff's image in connection with Dolce Gabbana
Classico Fragrance and any other related Dolce Gabbana products in all media.

22. Plaintiff also seeks an award of attorneys’ fees and costs per Civil
Code §3344(a).

THIRD CAUSE OF ACTION
RESTITUTION FOR UNJUST ENRICHMENT
(Against All Defendants)

23. All previous allegations are realleged and incorporated herein by
reference.

24. Defendants have made an unpermitted use of Plaintiff's image to
exploit their products.

25. Defendants used Plaintiff's image to their commercial benefit, all for
the purpose of making profits for themselves.

26. Defendants have been unjustly enriched by the use of Plaintiff's
image. Therefore, Plaintiff seeks restitution for the benefit derived from

Defendants’ use in an amount that is in excess of the Jurisdictional threshold of the

 

Superior Court.
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PRAYER FOR RELIEF

Wherefore, Plaintiff prays for judgment against the Defendants, and each of

them, as follows:

On the First Cause of Action:

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For actual damages
For punitive damages
For a constructive trust

For injunctive relief

On the Second Cause of Action:

 

1.

For actual damages

 

 

2. For punitive damages
3. For statutory damages
4, For attorneys’ fees and costs
5. For disgorgement of profits from the unauthorized use
6. For injunctive relief
On the Third Cause of Action:
l. For restitution
On all Causes of Action:
1. For a constructive trust
2 For pre-judgment interest
3. For costs of suit
4 For such other, further, and different legal and equitable relief as the

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Court deems proper under the circumstances.

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2 | DATED: April 3, 2012 JOHN & JOHNSON LLP
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4 By
Douglas L. Johnson
5 Attorneys for Plaintiff
6
7 DEMAND FOR JURY TRIAL
8 Plaintiff hereby demands a trial by jury.
. DATED: April 3, 2012 ON & JOHNSON LLP
11 By
12 Douglas L. Johnson
3 Attorneys for Plaintiff
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COMPLAINT

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Exhibit B
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SUMMONS FOR COURT USE ONLY
(CITACION JUDICIAL) BOLO PARA USO DE LA CORTE)
NOTICE TO DEFENDANT: cong ‘ PY
(AVISO AL DEMANDADO): cure dine POURY GF CALIFORNIA

Dolce & Gabbana S.r.L., an Italian Company; and Does 1-10, inclusive

YOU ARE BEING SUED BY PLAINTIFF:

COUNTY OF LOS ANGELES

APR 05 2012

John A. eh Executive Officer/Clerk
(LO ESTA DEMANDANDO EL DEMANDANTE): - ou _
sRaylia Chambers

Christian Monzon, an individual

 

 

below.

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NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be s court form that you can use for your response, ‘You can find these court forms and more information at the Califomia Courts
Online Self-Help Center (www. courtinio. ca. gov/eelfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
the court clerk for a fee waiver form. if you do not file your reaponse on time, you may lose the case by default, and your wages, money, and property

There are other legal requirements. You may want to call an attorney right away. if you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attomey, you may be eligible for free legal services from # nonprofit legal services program. You can iocate
these nonprofit groupe at the Califomia Legal Services Web site (www Jawhelpcaiifornia.org), the Califomia Courts Online Self-Help Canter
(www. courtinfo.ca.gov/selfhelp), or by Contacting your local court or county bar association. NOTE: The court has a statutory len for waived fees and
Costs on any settiement or arbitration award of $10,000 or more in a civil case. The court's lien must be pald before the court will dismiss the case.
JAVISOI Lo han demandado. Si no reaponde dentro de 30 dias, ia corte puede decidir en su contra sin escuchar au version. Lea ja informacién a

Tlene 30 DIAS DE CALENDARIO después de que je entreguen esta citacién y Papeles legales para presentar une respuesta Por escrito en esta

biblioteca de leyes de su condado o en ja corte que ie quede mas cerca. Si no puede pagar la cuote de presentacién, pida ai secretario de la corte
que le dé un formulario de axencién de pago de cuotaa, Si no presenta su respuesta # tiempo, puede perder al caso por incumplimiento y la corte le
podré quiter su sueide, dinero y bienes sin méa advertencia.

Hay otros requiaitos legelea. Es recomendable que llame a un abogedo inmediatamente. Si no conoce & un abogado, puede llamar aun servicio de

 

The name and address of the court is: CASE NUMBER:
(Ei nombre y direccién de la corte es): (Ndmero ciel Cuac):

Superior Court for the State of California, County of Los Angeles, 111 ___ BC489160 ss

 

North Hill Street, Los Angeles, California, 90012

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attomey, is:
(El nombre, la direccién y el ndmero de teléfono del abogado dal demandante, o del damandante que no tiane abogado, es):

Neville L. Johnson, 439 N. Canon Drive, Suite 200, Beverly Hills, CA 90210, (310) 975-1080

DATE:
(Fecha)

John A. Clarke clerk, by Isheylis Chambers “Deputy
(Secretario) (Adjunto)

(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use al formulario Proof of Service of Summons, (POS-010)).

 

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NOTICE TO THE PERSON SERVED: You are served
1. ["~] as an individual defendant.
2. {-_] 4s the person sued under the fictitious name of (specify):

3. [J on behalf of (specify):

under: [__] CCP 416.10 (corporation) [—] CCP 416.60 (minor)
[-_] CCP 416.20 (defunct corporation) [] CCP 416.70 (conservatee)
[__] CCP 416.40 (association or partnership) [“~] CCP 416.90 (authorized person)

[] other (specify):
4. [“"] by personal delivery on (date):
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Form Adopted for Mandatory Use
Judicial Council of California
SUM-100 [Rev. July 1, 2000}

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JOHNSON & JOHNSON LLP
439 North Canon Drive, Suite 200, Beverly Hills, California, 90210

ATTORNEY FOR (Name):

€ 18 of 5 lroaRalandDal 20 <MeO9

NBO VP EA ow oe waren 1 Filed 06/04/12” Pa

TELEPHONE NO (310) 975-1080 raxno (310) 975-1095
laintiff Christian Monzon

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF [os Angeles

STREET ADORESS 1]] North Hill Street

 

 

MAILING ADORESS:
city ano zie coor. Los Angeles 90012
prancu Name Central
CASE NAME:
Christian Monzon v. Dolce & Gabbana S.r.L.
CIVIL CASE COVER SHEET Complex Case Designation CASE NUMBER:
[7] Uniimited [J Limited [] counter [] Joinder
(Amount (Amount JUDGE.
demanded demanded is Filed with first appearance by defendant
exceeds $25,000) $25,000 or less) (Cal. Rules of Court, rule 3.402) DEPT:

 

 

 

 

ltams 1~6 below must be completed (see instructions on page 2).

 

 

. Check one box below for the case type that best describes this case:

 

 

 

 

Auto Tort Contract Provistonally Comptex Civil Litigation
Auto (22) (] Breach of contractwarranty (06) (Cal. Rules of Court, rules 3.400-3.403)
Ld Uninsured motorist (46) L_] Rule 3.740 collections (09) L_] Antitruat/Trade regulation (03)
Other PUPD/WD (Personal Injury/Property Cc] Other collections (09) Construction defect (10)
Damage/Wrongtul Death) Tort [J] insurance coverage (18) [__] Mass tort (40)
Asbestos (04) [_] otner contract (37) (__] Securities iitigation (28)
Product lability (24) Real Property | EnvironmentavT oxic tort (30)
Medical malpractice (45) Eminent domain/inverse insurance coverage claims arising from the
Other PPD/WD (23) condemnation (14) above ilsted provisionally complex case
Non-PYPD/WD (Other) Tort CJ Wrongful eviction (33) types (41)
C_] Business tort/unfair business practice (07) Other real property (26) Enforcement of Judgment
[] ivi nights (08) Untawful Detainer Enforcament of judgment (20)
[__] Defamation (13) Commercial (31) Miscellaneous Civil Complaint
[_] Fraud (16) Residential (32) (] RICO (27)
{—] Intellectual property (19) Drugs (38) Other complaint (not specified above) (42)
[_] Professional negligence (25) dudicial Review Miscellaneous Civil Petition
LY] other non-PvPDMVD tort (35) Asset forfeiture (05) Partnership and corporate governance (21)
Employment Petition re: arbitration award (11)

Other petition (not specified above) (43)
Wrongful termination (36) Sp ) (

[_] Writ of mandate (02)
{—] Other employment (15)

[| Other judicial review (39)

 

 

  

2. Thiscase |_Jis [y¥Jisnot complex under rule 3.400 of the California Rules of Court If the case is complex, mark the
factors requiring exceptional judicial management:
a. [__] Large number of separately represented parties 4. [__] Large number of witnesses
b. [] Extensive motion practice raising difficult or novel _—e. | Coordination with related actions pending in one or more courts
issues that will be time-consuming to resolve in other counties, states, or countries, or in a federal court
c. L_] Substantia! amount of documentary evidence ft L_] Substantial postjudgment judicial supervision
3. Remedies sought (check ail that apply): ay] monetary b.[¥] nonmonetary: declaratory or injunctive relief —_c. [¥_] punitive
4. Number of causes of action (specify): 3
5. This case [_] is isnot aclass action suit.
6. If there are any known related cases, file and serve a notice of related’eabe (afly use form CM-015.)

Date: April 3, 2012
Douglas L. Johnson

« Plaintiff must file this cover sheet with the first paper filed in the action or es)

  

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(TYPE OR PRINT NAME) ~— NATURE OF PARTY OR ATTORNEY FOR PARTY)

NOTIC

roceeding Texcept small claims cases or cases filed
under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
in sanctions.

other parties to the action or proceeding.

 

Form Adopted for Mandatory Use
Judicial Council of California
CM-010 [Rev. July 1, 2007}

® File this cover sheet in addition to any cover sheet required by local court rule.
® If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all

* Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only. tor

CIVIL CASE COVER SHEET

Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740.
Cal, Standards of Judicial Administration, std. 3.10
www courtinio.ca.gov

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+ Case 2:12-0v-04881- MMF RLE GRE UNH SEAMEN Ve SOURARALEY Page ID 21cm

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To Plaintiffs and Others Filing Firet Papers. if you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
Statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. if the case fits both a general and a more specific type of case listed in iter 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.

To Parties In Rule 3.740 Collections Cases. A “collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general

time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.

To Parties in Complex Cases. in complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. if a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. if a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on ail parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the

plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that

the case is complex.

Auto Tort
Auto (22}-Personai injury/Property
Damage/Wrongful Death
Uninsured Motorist (46) (/f the
case involves an uninsured
motorist claim subject to
arbitration, check this itam
instead of Auto)
Other PUPO/WD (Personal Injury/
Property Damage/Wrongful Death)
Tort
Asbestos (04)
Asbestos Property Damage
Asbestos Personai Injury/
Wrongful Death
Product Liability (not asbestos or
toxicfenvironmental) (24)

Medical Malpractice (45)

Medical Malpractice—
Physicians & Surgeons

Other Professional Heaith Care
Malpractice

Other Pi/PDAWD (23)

Premises Liability (e.g., slip
and fall)

Intentional Bodlly injury/PO/WD
(@.9., assault, vandalism)

intentional infliction of
Emotional Distress

Negligent Infiiction of
Emotional Distress

Other PI/PD/WD

Non-Pi/PD/WD (Other) Tort
Business Tort/Unfair Business
Practice (07)

Civil Rights (6.g., discrimination,
false arrest) (not civil
harassment) (08)

Defamation (8.g., slander, libel)

CASE TYPES AND EXAMPLES
Contract
Breach of Contract/Warranty (06)
Breach of Rental/Lease
Contract (not unlawful detainer
or wrongful eviction)
Contract/Warranty Breach—Selier
Plaintiff (not fraud or negligence)
Negligent Breach of Contract/
Warranty
Other Breach of Contracl/Warranty

Collections (@.9., money owed, open
book accounts) (09)

Collection Case—Seller Plaintiff
Other Promissory Note/Coilections
Case

insurance Coverage (not provisionally
complex) (18)

Auto Subrogation
Other Coverage

Other Contract (37)
Contractual Fraud
Other Contract Dispute

Real Property

Eminent Domain/inverse
Condemnation (14)

Wrongful Eviction (33)

Other Real Property (e.9., quiet title) (26)
Writ of Possession of Real Property
Mortgage Forectosure
Quiet Title
Other Real Property (not eminent
domain, landiordAenant, or
foreciosure)

Untawful Detainer

Commercial (31)

Residential (32)

Drugs (38) (if the case invoives illegal
drugs, check this item; otherwise,
report as Commercial or Residential)

Provisionalty Complex Civil Litigation (Cai.
Rules of Court Rulee 3.400-3.403)
Antitrua’/Trade Regulation (03)
Construction Defect (10)
Claims invotving Maas Tort (40)
Securities Litigation (28)
EnvironmentavV/T oxic Tort (30)
Insurance Coverage Claims
(arising from provisionally complax
case type listed above) (41)
Enforcement of Judgment
Enforcement of Judgment (20)
Abstract of Judgment (Out of
County)
Confession of Judgment (non-
domestic relations)
Sister State Judgment
Administrative Agency Award
(not unpaid taxes)
Patition/Certification of Entry of
Judgment on Unpaid Taxes
Other Enforcement of Judgment
a

Miscellaneous Civil Complaint
RICO (27)
Other Complaint (not specified
above) (42)
Declaratory Relief Only
Injunctive Reilef Only (non-
harassment)
Mechanics Lien
Other Commercial Compiaint
Case (non-tort(non-compiex)
Other Civil Compiaint
(non-tortmon-complex)
Miscellaneous Civil Petition
Partnership and Corporate
Governance (21)
Other Petition (not specified

 

(13) Judicial Review Civi Flecacament
Fraud (18) Asset Forfeiture (05) Workplace Violence
Intaliectual Property (19) Petition Re: Arbitration Award (11) Elder/Dependent Adult
Professional Negligence (25) Writ of Mandate (02) Abuse
Legal Malpractice Writ-Administrative Mandamus Election Contest
Other Professional Malpractice Weit-Mandamus on Limited Court Patition for Name Change
(not medical or legal) Case Matter Petition for Raliaf From Late
Other Non-PI/PO/WD Tort (35) Wnrit—Other Limited Court Case Claim
Employment Review Other Civil Petition
Wrongful Termination (36) Other Judicial Review (39)
Other Empioyment (15) Review of Health Officer Order
Notice of Appeal-l_abor
Commissioner Appeais
CM-010 [Rew uy 3, 2007 CIVIL CASE COVER SHEET raaezer?

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Filed 06/04/17

Page 20 of 51 Page ID #:22

 

 

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2
E
Monzon v. Dolce & Gabbana S.r L.

CASE NUMBER

 

 

 

 

CIVIL CASE COVER SHEET ADDENDUM AND

 

 

STATEMENT OF LOCATION
(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
This form is required pursuant to Local Rule 2.0 in ail new civil case filings In the Los Angeles Superior Court.
item |. Check the types of hearing and fill in the estimated length of hearing expected for this case:
JURY TRIAL? "4 YES CLASS ACTION? LJ YES LIMITED CASE? (Ives TIME ESTIMATED FOR TRIAL 5-7 CZ) HOWRS/ (2) DAYS

Item Il. Indicate the correct district and courthouse location (4 steps — If you checked “Limited Case’, skip to Item Ill, Pg. 4):

Step 1: After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your

case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.

Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.

Step 3: in Column C, circle the reason for the court location choice that a

checked. For any exception to the court location, see Local Rule 2.0.

pplies to the type of action you have

 

 

Applicable Reasons for Choosing Courthouse Location (see Column C below)

 

 

1. Class actions must be filed in the Stanley Mosk Courthouse, central district. 6. Location of of permanently garaged vehicie.

2. May be filed in central (other county, or no bodily injury/property damage). 7. Location where petitioner resides.

3. Location where cause of action arose. 8. Location wherein cofendantirespondent functions whoily.
4. Location where bodily injury, death or damage occurred. 9. Location where one or more of ries reside.

5. Location where performance requirad or defendant resides. 10. Location of Labor Commiasioner Ofnce

Step 4: Fili in the information requested on page 4 in Item lil; complete Item IV. Sign the declaration.

Auto
Tort

Other Personal Injury/ Property
Damage! Wrongful Death Tort

Auto (22)

QO A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death

 

 

Uninsured Motonst (46)

Asbestos (04)

0 A7T110 Personal injury/Property Damage/Wrongful Death — Uninsured Motorist 1.,2.,4.

0 A8070 Asbestos Property Damage 2.

 

 

 

 

QO A7221 Asbestos - Personal InjuryWrongful Death 2.
Product Liability (24) C) A7260 Product Liability (not asbestos or toxic/environmental) 1.2.3.4, 8.
QO A7210 Medical Maipractice - Physicians & Surgeons 1,4.
Medicai Maipractice (45)
OQ A7240 Other Professional Health Care Malpractice 1.,4.
© A7250 Premises Liability (e.g., slip and fall) 1.4
Other ae
Personal injury © A7230 Intentional Bodily injury/Property Damage/Wrongful Death (e.9., 1.4
Property Damage assault, vandalism, etc.)

Wrongful Death C2 A7270 intentional infliction of Emotional Distress 1.3

(23)

LACIV 109 (Rev. 03/11)
LASC Approved 03-04

 

C1) A7220 Other Personal Injury/Property Damage/Wrongful Death

ee ee eee
ee

CIVIL CASE COVER SHEET ADDENDUM
AND STATEMENT OF LOCATION

 

Local Rule 2.0
Page 1 of 4

 
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Monzon v. Doice & Gabbana S.rL.

CASE NUMBER

 

Case-2:12-cv-04821-MMM-PLA Document 1 Filed 06/04/12 Page 21 of 51 Page ID #:23

| SHORT TITLE

 

Non-Personal injury! Property
Employment — Damage! Wrongful Death Tort

Contract

 

 

 

 

 

 

Business Tort (07) QO A8029 Other Commercia/Business Tort (not fraud/oreach of contract) 1,3.
Ci Rights (08) © 6006 Civil Rights/Discrimination 1,2..3
Defamation (13) QO A8010 Defamation (slanderM"bel) 1.2.3
Fraud (16) 0 6013 Fraud (no contract) 1,2..3
 A6017 Legal Malpractice 1.2.3.
Professional Negigance aa QO As050 omer Professional Malpractice (not medical or legal) 1.,2.,3.

 

Other (35)

@ As025

Other Non-Personal Injury/Property Damage tort 2.,3.

 

 

 

 

Wrongful Termination (36) QO A6037 Wrongful Termination 1.2.3
e ‘8 O A6024 Other Employment Complaint Case 1.,2.,3.
Other Employment (
’ O A8109 Labor Commissioner Appeals 10.
© A8004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful 2.5
eviction) ™
B fC Warra
reach o oe arranty | 5 46008 ContractWarranty Breach -Seller Plaintiff (no fraud/negiigence) CO:
(not insurance) CQ A019 Negligent Breach of Contract/Warranty (no fraud) 1,2.,5.
(6026 Other Breach of Contract/Warranty (not fraud or negligence) ee.
[ A86CO2 Collections Case-Seller Plaintiff 2.5.6
Collections (09)
O A6012 Other Promissory Note/Collections Case 5
insurance Coverage (18) QO A6015 Insurance Coverage (not complex) 1..2.,5.8
QO A6009 Contractual Fraud 1.2.3.5.
Other Contract (37) C] A86031 Tortious Interference 1.2.3, 5.

OQ A6027 Other Contract Dispute(not breach/insurance/fraud/negligence) 1,2.,3.,8.
Eminent Domair/nverse

 

 

 

 

 

 

 

 

 

 

 

 

 

Condemnation (14) Q A7300 Eminent Domain/Condemnation Number of parcels 2.
i Wrongful Eviction (33) CQ 8023 Wrongful Eviction Case 2.,6.
= ( A6018 Mortgage Foreclosure 7
3 Other Real Property (26) | A6032 Quiet Title ,
© A6060 Other Real Property (not eminent domain, landiord/Menant, foreciosure) | 2., 8.
s Uniewful — © A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction) 2.6
= : 2
3 cee 7 a Cl 6020 Unlawful Detainer-Residentiat (not drugs or wrongful eviction) 2.,8.
3
Untawful Detainer-
3 Post-Foreciosure (34) C A8020F Unlawful Detainer-Post-Foreciosure 2.,6.
>
Unlawful Detainer-Drugs (38) | A6022 Unlawful Detainer-Drugs 2.,6.
LACIV 109 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 2 of 4

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2-212-Cv-04881-MMM-PLA Document 1_ Filed 06/04/12 Page 22 of 51 Page ID #:24

SHORT TITLE

Monzon v. Dolce & Gabbana S.rL.

CASE NUMBER

 

 

Judicial Review

Provisionally Complex Litigat

 

 

   

 

 

 

 

 

 

 

 

Asset Forfeiture (05) O A6108 Asset Forfeiture Case 2.,6.
Petition re Arbitration (11) QO A8115 Patition to CompelConfirm/Vacate Arbitration 2., 5.
OQ A6151 Writ - Administrative Mandamus 2., 8.
Writ of Mandate (02) O A6152 Writ - Mandamus on Limited Court Case Matter 2.
O A6153 Writ - Other Limited Court Case Review 2.
Other Judicial Review (39) QO A6150 Other Writ Judicial Review 2., 8.
Antitrus/Trade Regulation (03) | A6003 Antitrust/Trade Regulation 1.,,2.,8
Construction Defect (10) QO A6007 Construction Defect 1.,2.,3
Claime ee Mase Tort 1 8008 Cieims involving Mess Tort 1.2.8
Securities Litigaton (28) QO A6035 Securities Litigation Case 1.,2.,8
Tome Tort
Environmental (30) O A6036 Toxic Torv/Environmental 1,2.,3. 8.
Insurance Coverage Claims

from Complex Case (41) O A6014 Insurance Coverage/Subrogation (complex case onty) 1.,2..5., 8.
0 A6141 Sister State Judgment 2.,9.

 

 

 

 

 

 

 

 

§ 1) A6160 Abstract of Judgment 2., 8.
3 Enforcement QO A6107 Confession of Judgment (non-domestic relations) 2.,9.
2 of Judgment (20) C) A6140 Administrative Agency Award (not unpaid taxes) 2.8.
a 3S CO A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax 2,8.
QO A6112 Other Enforcement of Judgment Case 2., 8., 8.
RICO (27) O A6033 Racketeering (RICO) Case 1.2.8.
5 O A6030 Declaratory Relief Only 1.2.8.
& Other Compisints QO A6040 injunctive Relief Onty (not domestic/harassment) 2., 8.
z (Not Specified Above) (42) {1 6011 Other Commercial Compiaint Case (non-tortinon-compiex) 1,2. 8.
° C 6000 Other Civil Complaint (non-tortinon-complex) 4.,2., 8.
ia int mo CQ A6113 Partnership and Corporate Govemance Case 2., 8.
CQ A6121 Civil Harassment 2.,3.,9.
3 g QO A6123 Workplace Harassment 2.,3., 9.
124
3 3 eee QO A6124 Elder/Dependent Adult Abuse Case 2.3.9.
5 = (Not Specified Above) QO A6190 Election Contest 2.
a (43) QO A6110 Petition for Change of Name 2.,7.
QO A6170 Petition for Rellef from Late Claim Law 2.,3., 4., 8.
QC) A6100 Other Civil Petition 2., 9.
LACIV 109 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 3 of 4

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"_Case.2:12-cv-04881-MMM-PLA Document 1 Filed 06/04/12 Page 23 of 51 Page ID #:25

 

 

| SHORT TITLE CASE NUMBER
Monzon v. Dolce & Gabbana S.r.L.

 

 

Item Ill. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
circumstance indicated in Item il, Step 3 on Page 1, as the proper reason for filing in the court location you selected.

 

ADORESS:
REASON: Check the appropriate boxes for the numbers shown =| 6315 Crabs Avenue
under Column C for the type of action that you have selected for
this case.

C1. 42.03.04 05.06 07. O08. O9 10.

 

 

CITY. STATE: UP CODE:
Tarzana CA 91335

 

 

 

 

 

item IV. Declaration of Assignment. | declare under penalty of perjury under the laws of the State of California that the foregoing is true

and correct and that the above-entitled matter is property filed for assignment to the Stanley Mosk courthouse in the
Central District of the Superior Court of California, County jv. Proc., § 392 et seq., and Local

Rule 2.0, subds. (b), (c) and (d)).

Dated: April 3, 2012

  

 

ATTORNEY/FILING PARTY)

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

1. Original Complaint or Petition.

2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
3. Civil Case Cover Sheet, Judicial Council form CM-010.
4

Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
03/11).

Payment in full of the filing fee, unless fees have been waived.

A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
minor under 18 years of age will be required by Court in order to issue a summons.

7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initiating pleading in the case.

 

LACIV 109 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 4 of 4

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Case Number. 80482169

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Your case le asigued for all parposes to the jade toe below (Laeal Reis te There is sddiddonal information on the reverse side of thie form.
ASSIGNED JUDGE DEPT [ ROOM ASSIGNED JUDGE DEPT ROOM
. Hon. Carolyn B. Kuhl 1 534 Hon. Holly B. Kendig 42 416
Hon. J. Stephen Czuleger 3 224 Hon. Mel Red Recana 45 529
Hon. Luis A. Lavin 13 630 Hon. Debre Katz Weintraub 47 507
Rion. Terry A. Green 14 300 Hon. Elizabeth Allen White 48 506
Hon. Richard Fruin 1s 307 Hon. Deirdre Hill 49 509
Hon. Rita Miller Z| 306 Hon, John L. Segal 50 508
Mon. Richard E. Rico ( 7 309 Hon. Abraham Khan 51 511
\ | Hon. Rex Heeseman is 31 Hon. Susan Bryant-Deason 52 510
"| Hon. Kevin C. Brazile 20 310 Hon. Steven J. Kleifield 53 513
Hon Michael P. Linfield 10 315 Hon. Ernest M. Hiroshige 54 512
Hon. Robert L. Hess 24 314 Hon. Malcolm H. Mackey 55 515
Hon. Mary Ann Murphy 25 317 Hon. Michael Johnson 56 514
Hon. James R. Dunn 26 316 Hon. Ralph W. Dau 57 517
Hon. Yvette M. Palazuelos 28 318 Hon. Rolf M. Treu 58 516
Hon. Barbara Scheper 30 400 Hon. David L. Minning 61 632
Hon. Alan S. Rosenfield 31 407 Hon. Michael L. Stem 62 600
Hon. Mary H. Strobel 32 406 Hon. Fredrick C. Shaler 46 601
Hon. Charles F. Palmer 33 409 Hon. Mark Mooney 68 617
Hon. Amy D. Hogue 34 408 Hon. Ramona See 69 621
Hon. Daniel Buckley 35 ait Hon. Soussan G. Bruguera 1 729
Hon. Gregory Alarcon 36 410 Hon. Ruth Ann Kwan 72 731
Hon. Joanne O'Donnell 37 413 Hon. Teresa Sanchez-Gordon 74 735
Hon. Maureen Duffy-Lewis 38 412 Hon. William F. Fahey 78 730
Hon. Michael C. Soiner 39 415 Hon. Emilie H. Elias 324 CCW
Hon. Michelle R. Rosenblatt 40 414 Hon. Elihu M. Berle* 323. | CCW
Hon. Ronald M. Sohigian 41 417 other
*

All clase actions are intielly sesigned to Judge Elhu M. Berte Ut eee oth Central Clk West Courthouse (800 8. Commonwealth Ave, Loe Angeles $0005),
Oude ot tat coo peee of eseaaning vivir oF not the case le complex witha the meaning of Calforia Roe cf Goon eet Depending on the

Conerl Dietic nnn ecm ston cate my be remaagned fo oe ofthe doe fhe Corp Ligation Program or teunipeat enero
Central District. ,

Given to the Plaintiff/Cross-Complainant/Attomey of Record on JOHN A. CLARKE, Executive Officer/Clerk

 

By , Deputy Clerk
LACIV CCH 190 (Rev. 01/12) NOTICE OF CASE ASSIGNMENT -— Page | of 2
LASC Approved 05-06 UNLIMITED CIVIL CASE

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"Case 2:12-cv-0488 LM MIVE ELS Dae DENG IGMETER CBE GASES, ge ID 4:27

_ The following critical provisions of the Chapter Seven Rules, as applicable in the Central District, are summarized for your assistance.

APPLICATION

The Chapter Seven Rules were effective January 1, 1994. They apply to all general civil cases.

PRIORITY OVER OTHER RULES

The Chapter Seven Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE

A challenge under Code of Civil Procedure section 170.6 must be made within 15 days after notice of assignment for all purposes to
a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS

Cases assigned to the Individual Calendaring Court will be subject to processing under the following time standards:
COMPLAINTS: All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-compiaint may be filed by any party after their

answer is filed. Cross-complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the
filing date.

A Status Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the

complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses. .

FINAL STATUS CONFERENCE

The Court will require the parties at 2 status conference not more than 10 days before the trial to have timely filed and served all
motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions, and

if appropriate on counsel for the party.

This is not a complete delineation of the Chapter Seven Rules, and adherence only to the above provisions is therefore

not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is absolutely imperative.

LACIV CCH 190 (Rev. 04/12) NOTICE OF CASE ASSIGNMENT — Page 2 of 2
LASC Approved 05-06 UNLIMITED CIVIL CASE
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‘od Case 2:12-cv-04881-MMM-PLA Document 1. Filed 06/04/12 Page 26 0f 51 Page ID #:28
“y * *
SUPERIOR COURT OF CALIFORNIA
COUNTY OF LOS ANGELES

Information About Alternative Dispute Resolution:

California Rules of Court, rule 3.221, requires counties participating In the Dispute Resolution Programs Act
(‘DRPA’), to provide information about the availablity of local dispute resolution programs funded under
DRPA. In Los Angeles County, these services are made possible through major support from the Los
Angeles County Department of Community and Senior Services through DRPA. The list of the local
dispute resolution programs funded In Los Angeles County is set forth below.

Superior Court of Calfornia, Los Angeles County, ADR Offlce (213) 974-5425
www lasuperiorcourt or/ADR

Staff and volunteers of the following identified agencies are not employees of the Los Angeles
Superior Court:

Asian-Pacific American Dispute Resolution Center (213) 250-8190 www. apadre.org
Caltfomia Academy of Mediation Professionals (818) 377-7250 www.mediationprofessionale

 

California Lawyers for the Arts, Arbitration and Mediation Service (310) 996-5590 www calawyersforthearts, orn/
Center for Conflict Resolution (818) 705-1090 Www. ccr4peace.org
Inland Valleys Justice Center (909) 621-7479 vow. lvic.org
Korean American Coalition 4.29 Center (213) 365-5999 www kacis.org
Los Angeles City Attomey's Office Dispute Resolutian Program (213) 485-8324
www lacity.ora/mediate
Los Angeles County Bar Association Dispute Resolution Services
(877) 473-7658 (323) 930-1841 (888) 922-1322 (562) 570-1019 www lacha ora/drs
Los Angeles County Department of Consumer Affairs (213) 974-0825
The Loyola Law School Center for Conflict Resolution (213) 736-1145 www. lis. edu/csr

   

Clty of Norwalk Dispute Resolution Program (562) 929-5603
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These programs do not offer legal advice or help you respond to a summons,
but they can assist in resolving your problem through mediation.

Dispute Resolution Programs Act
Contracts Administration Office: (213) 738-2621

 

 

 

LAADR 007 (Rev. 04/0) INFORMATION ABOUT
LASC Approved 07-04 ALTERNATIVE DISPUTE RESOLUTION

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LOS ANGELES SUPERIOR COURT ADR PROGRAMS
* Civil Action Mediation (Governed by Code of Chi Procedure ( sections Calforia
3.800-3.898 Evidence Code sections atcaaast and Loe posct penile Court Rudea. dees 12) Rien of Cour, rue 3 860-3.988 ond
« Retired Judge Settioment Conference

e Neutral Evaluation (Governed by Los Angeles Superior Court Rulee, chapter 12.)

Angaiea Supecior Court Fase, charter sas of Chl Procedure sections 1141.10-1141.31, Calfomie Rules of Court, rules 3.810-3.830, and Los
° Eminent Domain Mediation (Governed by Code of Chl Procedure section 1250.420,)
« Civil Harassment Mediation
¢ Small Claime Mediation
FAMILY LAW (non-custocy):
_* Mediation
* Forensic Certified Public Accountant (CPA) Settlement Conference
¢ Settlement Conference
° Nonbinding Arbitration (Govemed by Family Code section 2554.)

« Mediation
¢ Settlement Conference

Parties may select a mediator, neutral evaluator, of arbitrator
diecretion. It the parties utiize the Random Select Mediation oy eco Patty Select Panel or may hire someone privately, at their

fon en bobie on the coe rnten Panel, the psrties wit be assigned on a random basis the

SOURT ADR PANELS

Party Select The Party Select Panel conslete of mediators, neutral evelistore and abitatore
Panel of experience in court-connected cases. The parties (collectively) may be cherged $150.00 na re sseecited level

Random Select The Random Select Panel consists of trained mediators, neutral
Panel se taDerience to quality for the Party Select Panel, as well ae experienced necnae make themselves available
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Parties may be charged for additonal heerng tne on an hourty bane area idahed by vat

Private Neutral ‘The market rate for private neutrals can range from $300-$1,000 per hour.

crprmeeaeevarsing ADR, please contact the ADR clerk st the courthouse Ia which your case wae fed.

   

 

 

 

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SUPERIOR COURT OF CALIFORNIA, COUNTY OF LO3 ANGELES
ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION PACKAGE

[CRC 3.221 Information about Alternative Dispute Resolution)
For additional ADR information and forma visit the Court AOR web application at fa (click on ADR).

The plaintiff shall serve a copy of this Information Package on each defendant along with the complaint (Civil only).
What le ADR:

Alternative Dispute Resolution (ADR) is the term usad to describe all the other options available for settling a dispute which once had to
be settied in court. ADR processes, such as arbitration, mediation, neutral evaluation (NE), and

settlement conferences, are less formal
than a court process and provide opportunities for parties to reach an agreement using a problem-solving approach.

There.are many different kinds of ADR. All of them utilize # ‘neutral’, an impartial person, to decide the case or help the parties reach an

Mediation: , . .
In mediation, # neutral person called a "mediator" helps the parties try to reach a mutually acceptable resolution of the dispute. The
mediator does not decide the dispute but helps the parties communicate so they can try to settle the dispute themselves. Mediation leaves
control of the outcome with the parties.

Cases for Which Mediation May Be Appropriate
Mediation may be particularly useful when parties have a diapute between or among famity members, neighbors, or business
partners. Mediation is also effective when

are getting in the way of resolution. An effective mediator can hear the
parties out and help them communicate with each other in ani effective and nondestructive manner. -

Cases for Which Mediation May Not Be Appropriate
Mediation may nat be effective if one of the parties ls unwilling to cooperate or compromise. Madiation also may not be effective
if one of the parties has a significant advantage in power over the other. Therefore, It may not be a good choice if the parties
have a history of abuse or victimization.

Arbitration:

Cases for Which Arbitration May Be Appropriate ,
Arbitration je best for cases where the parties want another person to decide the outcome of their dispute for them but would like
to avoid the formailty, time, and expense of a trial, It may also be appropriate for complex matters where the parties went a
decision-maker who has training or experience in the subject matter of the . .

Cases for Which Arbitration May Not Be Appropriate

if parties want to retain control over how their te is reecived, arbitration, particularly binding arbitration, is not appropriate. in
binding arbitration, the parties generally cannot appeal the arbitrator's award, even if it Is not supported by the evidence or the
law. Even in nonbinding arbitration, if a party requests a

wnding arbit trial and does not receive a more favorable reauit at trial than In
arbitration, there may be penaities. ot

In neutral evaluation, each party gets a chance to present the case to = neutral person called an “evaluator.” The evaluator then gives an
opinion on the strengths and weaknesses of each party's evidence and arguments and about how the dispute could be resolved. The
evaluator ig often an expert in thé subject matter of the dispute. Although the evaluator's opinion is not binding, the parties typically use it
as & basis for trying to negotiate a resolution of the dispute. a

Casée for Which Neutral Evaluation May Be Appropriate | |

Neutral evaluation may be most appropriate in cases in which there are technical issues that require special expertise to resolve

or the orily significant Issue in the case is the amourit of damages.

Cases for Which Neutral Evaluation May Not Be Appropriate

Nettral evaluation may not be appropriate when there are significant personal ot emotional barriers to resolving the dispute.
Settlement con may be either mandatory or voluntary. in both types of settlement confe
meet with a judge or a neutral person called a “settlement officer’ to discuss possible

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VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

 

The Early Organizational Meeting Stipulation, Discovery
Resolution Stipulation, and Motions in Limine Stipulation are
_ Superior Court of Calttomia | voluntary stipulations entered into by the parties. The parties
may enter into one, two, or all three of the stipulations,
however, they may not alter the stipulations as written,
because the Court wants to ensure uniformity of application.

 

 

Der Associaton These stipulations are meant to encourage cooperation
Loe Angeles County between the parties and to assist in resolving issues in a
Employment Law Section | Manner that promotes economic case resolution and judicial
efficiency.
Wi
of as Angetey The following organizations endorse the goal of
Coneumer Attorneys

Association of Los Angeles | promoting efficiency in litigation and ask that counsel
consider using these stipulations as a voluntary way to
promote communications and procedures among counsel
and with the court to fairly resolve issues in their cases.

@Los Angeles County Bar Association Litigation Section@

 

@ Los Angeles County Bar Association
Labor and Employment Law Section®

Association .
Business Trial Lawyers @Consumer Attorneys Association of Los Angeles @
@Southern California Defense Counse!l@

@Association of Business Trial Lawyers @

 

 

California Employment Lawyers Association
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SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

 

 

NAMI AND ADOREOE OF ATTORNELY OR PARTY WITHCAIN ATTONOUtY. ~ STATS Onn aneean Ramarved ter Clark's fe tangs
TELEPHONE NO.: FAX NO. (Optional):
EMAL Comat AS pions

 

 

PCAINTIFF:

 

DEFENDANT:

 

 

STIPULATION — EARLY ORGANIZATIONAL MEETING

 

 

 

This stipulation Is intended to encourage cooperation among the parties at an early stage in
the litigation and to assist the parties In efficient case resolution.

The parties agree that:

1. The parties commit to conduct an initlal conference (in-person or via teleconference or via
videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
whether there can be agreement on the following:

a.

Are motions to challenge the pleadings necessary? If the issue can be resolved by
amendment as of right, or if the Court would allow leave to amend, could an amended
complaint resolve most or all of the Issues a demurrer might otherwise raise? If so, the parties
agree to work through pleading Issues so that a demurrer need only ralse Issues they cannot
resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
would some other type of motion be preferable? Could a voluntary targeted exchange of
documents or information by any party cure an uncertainty In the pleadings?

initial mutual exchanges of documents at the “core” of the litigation. (For example, in an
employment case, the employment records, personnel file and documents relating to the
conduct In question could be considered “core.” In a personal Injury case, an incident or
police report, medical records, and repair or maintenance records could be considered
“core.");

Exchange of names and contact Information of witnesses;

Any insurance agreement that may be available to Satisfy part or all of a judgment, or to
indemnify or reimburse for payments made to Satisfy a judgment:

Exchange of any other information that might be helpful to facilitate understanding, handling,
or resolution of the case in a manner that preserves objections or privileges by agreement:

Controlling Issues of law that, If resolved early, will promote efficiency and economy in other
phases of the case. Also, when and how such | ssues can be presented to the Court;

Whether or when the case should be scheduled with a settlement officer, what discovery or
court ruling on legal Issues is reasonably required to make settlement discussions meaningful,
and whether the parties wish to use a sitting judge or a private mediator or other options as

 

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discussed In the “Alternative Dispute Resolution (ADR) Information Package” served with the
complaint;

h. Computation of damages, including documents not privileged or protected from disclosure, on
which such computation is based:

i. Whether the case Is suitable for the Expedited Jury Trial procedures (see information at
www. lesuperiorcourt.org under “Civif’ and then under “General Information’).

2. The time for a defending party to respond to a complaint or cross-complaint will be extended

to for the complaint, and for the cross-
(INSERT DATE) (INSERT DATE)

complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having

been found by the Civil Supervising Judge due to the case management benefits provided by
this Stipulation.

3. The parties will prepare a joint report titled “Joint Status Report Pursuant to Initial Conference
and Early Organizational Meeting Stipulation, and If desired, a proposed order summarizing
results of their meet and confer and advising the Court of any way it may assist the parties’
efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
the Case Management Conference statement, and file the documents when the CMC
statement is due.

4. References to “days” mean calendar days, unless otherwise noted. If the date for performing
any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
for performing that act shall be extended to the next Court day

The following parties stipulate:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR PLAINTIFF)
Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
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(TYPE OR PRINT NAME) (ATTORNEY FOR )
Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR )
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TELEPHONE NO.: FAX NO. (Optional;
. E-MAIL ADORESS (Optional):
ATTORNEY FOR (Namek
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

| COURTHOUSE ADORESS:

PLAINTIFF:
DEFENDANT.

STIPULATION — DISCOVERY RESOLUTION

 

 

 

 

This stipulation is intended to provide a fast and Informal resolution of discovery issues
through limited paperwork and an Informal conference with the Court to aid in the

resolution of the issues.

The parties agree that:

1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
the moving party first makes a written request for an Informal Discovery Conference pursuant

to the terms of this stipulation.

2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
and determine whether it can be resolved informally. Nothing set forth herein will preclude a
party from making a record at the conclusion of an informal Discovery Conference, either

orally or in writing.

3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
presented, a party may request an Informal Discovery Conference pursuant to the following

procedures:

a. The party requesting the Informal Discovery Conference will:

i. File a Request for Informal Discovery Conference with the clerk's office on the
approved form (copy attached) and deliver a courtesy, conformed copy to the

assigned department;

ii. Include a brief summary of the dispute and specify the relief requested; and

ii. | Serve the opposing party pursuant to any authorized or agreed method of service
that ensures that the opposing party receives the Request for Informal Discovery
Conference no later than the next court day following the filing.

b. Any Answer to a Request for Informal Discovery Conference must:

i. Also be filed on the approved form (copy attached);

ii, Include a brief summary of why the requested relief should be denied:

 

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Page 1 of 3

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lil. Be filed within two (2) court days of receipt of the Request: and

lv. Be served on the opposing party pursuant to any authorized or agreed upon
method of service that ensures that the opposing party receives the Answer no
later than the next court day following the filing.

c. No other pleadings, including but not limited to exhibits, deciarations, or attachments, will
be accepted.

d. If the Court has not granted or denied the Request for Informal Discovery Conference
within ten (10) days following the filing of the Request, then it shall be deemed to have
been denied. If the Court acts on the Request, the parties will be notified whether the
Request for informal Discovery Conference has been granted or denied and, if granted,
the date and time of the informal Discovery Conference, which must be within twenty (20)
days of the filing of the Request for Informal Discovery Conference.

e. If the conference is not held within twenty (20) days of the filing of the Request for
Informal Discovery Conference, unless extended by agreement of the parties and the
Court, then the Request for the informal Discovery Conference shall be deemed to have
been denied at that time.

. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired

without the Court having acted or (c) the Informal Discovery Conference is concluded without
resolving the dispute, then a party may file a discovery motion to address unresolved issues.

. The parties hereby further agree that the time for making a motion to compel or other

discovery motion is tolled from the date of filing of the Request for Informal Discovery
Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
by Order of the Court.

It is the understanding and intent of the parties that this stipulation shall, for each discovery
dispute to which it applies, constitute a writing memorializing a “specific later date to which
the propounding [or demanding or requesting] party and the responding party have agreed in
writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
2033.290(c).

. Nothing herein will prectude any party from applying ex parte for appropriate relief, including

an order shortening time for a motion to be heard concerning discovery.

. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to

terminate the stipulation.

. References to “days” mean calendar days, unless otherwise noted. If the date for performing

any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
for performing that act shall be extended to the next Court day.

 

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Page 2 of 3

 
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The following parties stipulate:
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(TYPE OR PRINT NAME) ATTORNEY FOR PLAINTIFF)
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Page 3 of 3
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NAMM AND ADORELSS OF ATTORNEY OR PARTY WITHOUT ATTORNEY: STATE BAR LAER
P TELEPHONE NO.: FAX NO. (Optional;
E-MAL. ADORESS (Optionaly:
ATTORNEY FOR (Name;

 

 

 

 

COURTHOUSE ADORESS:

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

 

PLANTIER:

 

 

DEPENDANT:

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INFORMAL DISCOVERY CONFERENCE
(pursuant to the Discovery Resolution Stipulation of the parties)

 

 

 

1. This document relates to:
Request for Informal Discovery Conference
Answer to Request for Informal Discovery Conference

2. Deadline for Court to decide on Request:

the Request).

 

3. Deadline for Court to hold Informal Discovery Conference:
days following filing of the Request).

4. For a Request for Informal Discovery Conference, briefly describe the nature of the
discovery dispute, Including the facts and legal arguments at issue. For an Answer to
Request for Informal Discovery Conference, briefly describe why the Court should deny
the requested discovery, Including the facts and legal arguments at Issue.

(insert date 10 calendar days following filing of

(insert date 20 calendar

 

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INFORMAL DISCOVERY CONFERENCE

(pursuant to the Discovery Resolution Stipulation of the parties)

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Case 2:12-cv-04881-MMM-PLA Document 1 Filed 06/04/12 Page 36 of 51 Page ID #:38

 

| COURTHOUSE ADORESS:

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TELEPHONE NO.: FAX NO. (Optional:

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

 

| PLAINTIFF:

 

DEFENDANT:

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STIPULATION AND ORDER — MOTIONS IN LIMINE

 

 

 

 

This stipulation is Intended to provide fast and Informal resolution of evidentiary
Issues through diligent efforts to define and discuss such Issues and limit paperwork.

The parties agree that:

1. At least days before the final status conference, each party will provide all other
parties with a list containing a one paragraph explanation of each proposed motion in
limine. Each one paragraph explanation must identify the substance of a single proposed

motion in limine and the grounds for the proposed motion.

2. The parties thereafter will meet and confer, either in person or via teleconference or
videoconference, concerning all proposed motions in limine. In that meet and confer, the

parties will determine:

a. Whether the parties can stipulate to any of the proposed motions. If the parties so
stipulate, they may file a stipulation and proposed order with the Court.

b. Whether any of the proposed motions can be briefed and submitted by means of a
short joint statement of issues. For each motion which can be addressed by a short
joint statement of issues, a short joint statement of issues must be filed with the Court
10 days prior to the final status conference. Each side's portion of the short joint
statement of issues may not exceed three pages. The parties will meet and confer to
agree on a date and manner for exchanging the parties’ respective portions of the
short joint statement of issues and the process for filing the short joint statement of

issues.

3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
a short joint statement of issues will be briefed and filed in accordance with the California

Rules of Court and the Los Angeles Superior Court Rules.

 

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The following parties stipulate:
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(TYPE OR PRINT NAME) (ATTORNEY FOR )
THE COURT SO ORDERS.
Date:
JUDICIAL OFFICER

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Neville L. Johnson (SBN 66329)

JOHNSON & JOHNSON LLP
439 North Canon Drive, Suite 200
Beverly Hills, California 90210
Telephone: (310) 975-1080
Facsimile: (310) 975-1095
Email:

Bassil A. Hamideh (SBN 261233)
THE HAMIDEH FIRM, P.C.

Los Angeles, California 90067
Telephone: (310) 556-9687
Facsimile: (310) 733-5699
Email:

Attorneys for Plaintiff,
CHRISTIAN MONZON

CHRISTIAN MONZON, an
individual,

Plaintiff,
vs.
DOLCE & GABBANA S.r.L, an
Italian Company; and DOES 1-10,

inclusive,

Defendants.

Douglas L. Johnson (SBN 209216)

njohnson@jjllplaw.com
djohnson@)jjllplaw.com

1801 Century Park East, Suite 2400

 

 

 

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bhamideh@hamidehfirm.com

SUPERIOR COURT FOR THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES

CASE NO. BC482160
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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

I am employed in the County of Los Angeles, State of California by JOHNSON &
JOHNSON LLP, and am over the age of 18 and not a party to the within action. My business
address is 439 N. Canon Drive, Suite 200, Beverly Hills, California 90210.

On April 24, 2012 | served the foregoing document described as:

SUMMONS;

COMPLAINT;

CIVIL CASE COVER SHEET;

CIVIL CASE COVER SHEET AND STATEMENT OF LOCATION;
NOTICE OF CASE ASSIGNMENT;

ADR INFORMATION PACKAGE;

VOLUNTARY EFFICIENT LITIGATION STIPULATIONS;

NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER TO SHOW
CAUSE HEARING on:

SIAARYWN-

President of Dolce & Gabbana S.r.L.
Via Goldoni, 10

20129 Milan

Italy

Defendant

METHOD OF SERVICE

[X] (BY FEDEX INTERNATIONAL FIRST DELIVERY) I enclosed the document(s) in an
envelope or package provided by a FedEx delivery carrier and addressed to the person(s)
at the address(es) listed above. I placed the envelope or package for collection and FedEx

International First delivery at an office or a regularly utilized drop box of the FedEx
delivery carrier.

I am employed in the office of a member of the bar of this court at whose direction the
service was made. I declare under penalty of perjury under the laws of the United States and the
State of California that the foregoing is true and correct.

Executed April 24, 2012 at Beverly Hills, California.

Shake Andreasian

 

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Neville L. Johnson (SBN 66329)

John D. Fowler (SBN 271827)
JOHNSON & JOHNSON LLP
439 North Canon Drive, Suite 200
Beverly Hills, California 90210
Telephone: (310) 975-1080
Facsimile: (310) 975-1095

Bassil A. Hamideh (SBN 261233)
THE HAMIDEH FIRM, P.C.

Los Angeles, California 90067

Telephone: (310) 556-9687
Facsimile: (310) 733-5699

Attorneys for Plaintiff,
CHRISTIAN MONZON

CHRISTIAN MONZON, an
individual,

Plaintiff,
VS.
DOLCE & GABBANA S.r.L, an
Italian Company; and DOES 1-10,

inclusive,

Defendants.

Douglas L. Johnson (SBN 209216)

Email: njohnson@)jjllplaw.com
djohnson@)jjllplaw.com
Jfowler@jjllplaw.com

1801 Century Park East, Suite 2400

 

 

 

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Email: bhamideh@hamidehfirm.com

SUPERIOR COURT FOR THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES

CASE NO. BC482160

NOTICE OF CASE MANAGEMENT
CONFERENCE AND ORDER TO SHOW
CAUSE HEARING

OSC Hearin
Date: June 7, 2012
Time: 8:30 a.m.
Department: 17

CMC Hearin
Date: August 3, 2012
30a

Time: 8: .m.
Department: 17

Complaint Filed: April 5, 2012

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NOTICE OF CMC AND OSC
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Case 2:1

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2-CV-04881-MMM-PLA Document1 Filed 06/04/12 Page 41 0f51 Page ID #:43

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

Plaintiff CHRISTIAN MONZON hereby provides notice of the following
dates in the above-captioned matter:

1. A Case Management Conference (“CMC”) is set for August 3, 2012 at 8:30
a.m. in Department 17 at 111 North Hill Street, Los Angeles, California
90012;

2. An Order to Show Cause Hearing (“OSC”) is scheduled for June 7, 2012 at
8:30 a.m in Department 17 at 111 North Hill Street, Los Angeles, California
90012.

As set forth more fully in the Court’s Notice of Case Management
Conference and Order to Show Cause Hearing (true and correct copies of which are
attached hereto as Exhibits 1 and 2 respectively), the Court orders all parties to
meet and confer about the matters to be discussed at the CMC no later than 30 days

before the conference, and to file a completed Case Management Statement at least

 

15 calendar days prior to the CMC.
DATED: April 23, 2012 JOHNSON & JOHNSON LLP
ofin D. Fowler

ede for Plaintiff

 

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NOTICE OF CMC AND OSC
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EXHIBIT 1

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NOTICE SENT TO: pt: FILEY
Johnson, Neville L., Esq. onicitt

Johnson & Johnson LLP
439 North Canon Drive, Suite 200 APR ~8 2012
Beverly Hills CA 90210 ev\Ee=

at

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF L

 

 

 

CAS
CHRISTIAN MONZON
Plaintiffs), BC482160
VS.
DOLCE & GABBANA S$ R L , NOTICE OF CASE
Defendant(s). MANAGEMENT CONFERENCE

 

 

TO THE PLAINTIFF(SVATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve this notice of hearing on ail partiea/attomeys of record forthwith, and meet and confer with all parties/
attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conferences.

Your Case Management Conference has been scheduled for August 3, 2012 at 8:30. am in Dept. 17
at 111 North Hill Street, Los Angeles, California 90012.

NOTICE TO DEFENDANT: THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule; an order referring the case to Altemative Dispute Resolution (ADR); an order reciassifying the

Notice is hereby given that if you do not file the Case Management Statement or appear and effective
Management Conference, the Court may impose sanctions pursuant to LASC 5
177.5, 575.2, 583.150, 583.360 and 583.410, Government Code Section 68608

 
 
   

Date: April 6, 2012

 

 

Judicial Officer
CERTIFICATE OF SERVICRICHARD E. RICO

I, the named Executive Officer/Clerk of the above-entitied court, do hereby certify that | am not a party to the cause herein,
and hat on this date | sarved the Notice of Case Management Conference upon each party or counsel named above:

[”) by depositing in the United States mail at the courthouse in Los Angeles, Califomia, one Copy of the original filed herein in a
Separate sealed envelope to each address as shown above with postage thereon fully prepaid.

[ ] by personally giving the Party notice upon filing the complaint. a“
Date: April 6, 2012 ae tife
VL ..
by ' Clerk

LACIV 132 (Rev. 09/07) Cal. Rules of Court, rule 3.720-3.730
LASC Approved 10-03 LASC Local Rules, Chapter Seven

 

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*: * Case 2:12-cv-04881-MMM-PLA Document 1 Filed 06/04/12 Page 44 0f 51 Page ID #:46

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EXHIBIT 2

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NOTICE SENT TO: eet \\e
Johnson, Neville L., Esq. gaiG
Johnson & Johnson LLP APR 8
439 North Canon Drive, Suite 200 -
Beverly Hills CA 90210 2012 EES an
SUPERIOR COURT OF CALIFORNIA, COUNTY OF L ES
c BER
CHRISTIAN MONZON
Plaintiff(s), BC482160
VS.
DOLCE & GABBANA S R L ORDER TO SHOW CAUSE HEARING
Defendant(s).

 

 

To the party/attomey of record:_

You are ordered to appear for an Order to Show Cause Hearing on June 7, 2012 at _8:30 am in Dept. 17 of this
court, Central District, 111 North Hill Street, wan California 90012, and show cause why sanctions should not be imposed fo

Failure to file Proof of Service of [ ] Petition [{ Summons and {A Complaint [ ] Cross-Complaint pursuant to California
Rules of Court, rule 3.110(b) and (c) as to: D

Failure to comply or appear may result in sanctions, pursuant to one or more of the following: California Rules of Court, rule 2.30,
and rule 3.1340; Code of Civil Procedure sections 177.5, 575.2, 583.150, 583.310, 583.360, 583.410, 583.420, 583.430; and
Gove nt Code section 68608.

[ © avoid a mandatory appearance all required documents must be filed in [ ] this Dept ”] Clerk's Office, Room /, DE
at least 5 court days prior to the date of the hearing.

{ ] The Court may infer from your failure to appear that possession of the premises is no longer at issue, and that your case is not
entitled to preference in setting pursuant to Code of Civil Procedure section 1179a.

[ ] You are ordered to give notice of said hearing forthwith to any party served with syp
and file a Proof of Service in this department or Clerk’s Office at least 5 court dad

  
 

Dated: April 6, 2012

 

 

RRSREDTESRICO

CERTIFICATE OF MAILING
I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause herein, and that on this date

I served the Order to Show Cause Hearing upon each party or counsel named above by depositing in the United States mail at the courthouse in Los Angeles,
California, one copy of the original filed/entered herein in a separate sealed envelope to each address as shown above with the postage thereon fully

Date: April 6, 2012 John A. Clarke, ee a
By ‘—- ~ , Deputy Ch

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ORDER TO SHOW CAUSE HEARING

LACIV 166-1 (Rev. 09/08) LASC Local Rules, Chapter 7
LASC Approved 06-04 Cal. Rules of Court, rule 2.30

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- Case 2:12

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-cv-04881-MMM-PLA Document 1 Filed 06/04/12 Page 46 o0f51 Page ID #:48

PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

1 am employed in the County of Los Angeles, State of California by JOHNSON &
JOHNSON LLP, and am over the age of 18 and not a party to the within action. My business
address is 439 N. Canon Drive, Suite 200, Beverly Hills, California 90210.

On April 24, 2012 | served the foregoing document described as:

NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER TO SHOW
CAUSE HEARING on:

President of Dolce & Gabbana S.r.L.
Via Goldoni,10

20129 Milan

Italy

Defendant

METHOD OF SERVICE

[X] (BY FEDEX INTERNATIONAL FIRST DELIVERY) I enclosed the document(s) in ar
envelope or package provided by a FedEx delivery carrier and addressed to the person(s)
at the address(es) listed above. | placed the envelope or package for collection and FedEx
International First delivery at an office or a regularly utilized drop box of the FedEx
delivery carrier.

I am employed in the office of a member of the bar of this court at whose direction the

service was made. I declare under penalty of perjury under the laws of the United States and the
State of California that the foregoing is true and correct.

Executed April 24, 20/2 at Beverly Hills, California. 4

Shake Andreasian

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* *' * Case 2:12-cv-04881-MMM-PLA Document 1 Filed 06/04/12 Page 47 of 51 Page ID #:49

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Exhibit C
4 °°" Case 2:12-cv-04881-MMM-PLA Document 1 Filed 06/04/12 Page 48 of 51 Page ID #:50

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OFFICES DOLCE & GABBANA

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Viele Plave, 24
20529 Maan
Yor +3902 77888311
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Via AX Settembre, 123
20025 Lagnano (My
39 G33) 400211
Loc Sante Mans Maddalene 49
50084 Inciea in Val d' Amo (FI)
Tet +39 055 83311

Via Papa Govern Xx ta
25015 Lonate Parzola (VA)
vos Cones cotees

 

DOLCE. GABBANA: 00 7F

THE GROUP HISTORY UbRILES BRAND PRESS RELEASE 2088

http://www.dolcegabbana.com/corporate/en/office/office-dg.html 6/4/2012 45
Case 2:12-cv-04881-MMM-PLA Document1 Filed 06/04/12 Page 49 0f51 Page ID#:51

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Margaret M. Morrow and the assigned
discovery Magistrate Judge is Paul Abrams.

The case number on all documents filed with the Court should read as follows:

CV12- 4881 MMM (PLAx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions,

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division LJ Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St, Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
_ Case 2:12-Ow Aid MMW DTT ACCOR Gen TIE DMKier RAGRARORRIA Page ID #:52

ee

CIVIL COVER SHEET

1 (a) PLAINTIFFS (Check box if you are representing yourself [_]) DEFENDANTS

CHRISTIAN MONZON, an individual

DOLCE & GABBANA S.r.L., an Italian company; and DOES 1-10,
inclusive

 

(b) Attomeys (Firm Name, Address and Telephone Number. If
yourself, provide same.)

Douglas Johnson

Johnson & Johnson LLP

439 N. Canon Drive, Suite 200
Beverly Hills, CA 90210
(310) 975-1080

you are representing | Attorneys (If Known)

McDermott Will & Emery LLP
Ellie Hourizadeh (SBN 204627)
2049 Century Park, Suite 3800
Los Angeles, CA 90067-3208
(310) 277-4110

 

 

I. BASIS OF JURISDICTION (Place an X in one box only.)

}1 U.S. Government Plaintiff | [[] 3 Federal Question (U.S.

IH. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

PTF DEF PTF DEF

Government Not a Party Citizen of This State 621 (J 1 Incorporated or Principal Place —Q4 (4

of Business in this State

-]2U.S. Government Defendant [X) 4 Diversity (Indicate Citizenship | Citizen of Another State (J2 [J2 incorporated and Principal Place [(]5 [5

of Parties in Item I1])

IV. ORIGIN (Place an X in one box only.)

of Business in Another State
Citizen or Subject of a Foreign Country [}3 [J3_ Foreign Nation Ole Re

 

D1 Original £2 Removed from [[] 3 Remanded from C1 4 Reinstated or ([] 5 Transferred from another district (specify): [] 6 Multi (7 Appeal to District

Proceeding State Court Appellate Court

Reopened District Judge from
Litigation Magistrate Judge

V. REQUESTED IN COMPLAINT: JURY DEMAND: BQ Yes [[] No (Check 'Yes' only if demanded in complaint.)

LASS ACTION under F.R.C.P. 23: [[] Yes BJ No

[] MONEY DEMANDED IN COMPLAINT: $_ tt.00

 

VI. CAUSE OF ACTION (Cite the U. S. Civil Statute under whi

ch you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

1) misappropriation of likeness; (ii) violation of CA Civ Code Sec 3344; and (iii) unjust enrichment

YH. NATURE OF SUIT uilaee an X in one auox only.)

 

  

 
  
   
    
 
 

  
   
   
 
 
 
 
 
   
   
 

 

   

   

 

 

 

 

 

> OTHER STATUTES o TORTS. ih > . -DABOR «

~] 400 State Reapportionment 110 Insurance PERSONAL INJURY — ne Pek 710 Fair Labor Standards

“] 410 Antitrust CD 120 Marine {_] 310 Airplane TY, 2-1] 510 Motions to Vacate Act

“] 430 Banks and Banking 130 Miller Act (-] 315 Airplane Product [_] 370 Other Fraud Sentence Habeas [”] 720 Labor/Mgmt.

~] 450 Commerce/ICC J 140 Negotiable Instrument Liability {J 371 Truth in Lending Corpus Relations
Rates/etc. LJ 150 Recovery of _] 320 Assault, Libel & [7] 380 Other Personat |) 530 General 730 Labor/Memt.

“] 460 Deportation Overpayment & Slander Property Damage {_] 535 Death Penalty Reporting &

“] 470 Racketeer Influenced Enforcement of {_] 330 Fed. Employers’ ] 385 Property Damage {_} 540 Mandamus/ Disclosure Act
and Corrupt Judgment Liability Product Liability Other 740 Railway Labor Act
Organizations 151 Medicare Act _] 340 Marine BANKRUPTCY — {] 550 Civil Rights 790 Other Labor

“] 480 Consumer Credit 152 Recovery of Defaulted |] 345 Marine Product |L_] 22 Appeal 28 USC _} 555 Prison Condition Litigation

"] 490 Cable/Sat TV Student Loan (Excl. Liability 158 FORFEITURE/, 791 Empl. Ret. Inc.

"] 810 Selective Service Veterans) [] 350 Motor Vehicle [_] 423 Withdrawal 28 PENALTY _Security Act

“] 850 Securities/Commodities/ 153 Recovery of {] 355 Motor Vehicle ae USC 157 sa ry] 610 Agriculture : TVRIGHTS
Exchange Overpayment of Product Liability {)-C@RVHRIGHTS: ” HE] 620 Other Food & 820 Copyrights

_] 875 Customer Challenge 12 ecas ee [] 360 Other Personal [] 441 Voting Drug 830 Patent
USC 3410 160 Stockholders’ Suits Injury I} 442 Employment I] 625 Drug Related

J 890 Other Statutory Actions CL) 190 Other Contract ) 362 Personal Injury- I] 443 Housing/Acco- Seizure of A

"] 891 Agricultural Act 195 Contract Product Med Malpractice mmodations Property 21 USC [-] 61 HIA(1395ff) _

"] 892 Economic Stabilization Liability [_] 365 Personal Injury- [7]444 Welfare 881 862 Black Lung (923)
Act 196 Franchise . Product Liability ([") 445 American with [] 630 Liquor Laws 863 DIWC/DIWW

"] 893 Environmental Matters | | REAL PROPERTY _ 4 {] 368 Asbestos Personal Disabilities-  [_] 640 R.R.& Truck 405(g))

"] 894 Energy Allocation Act {L_} 210 Land Condemnation peepee Employment —_ |] 650 Airline Regs 864 SSID Title XVI

‘] 895 Freedom of Info. Act 220 Foreclosure a ae 7 - ange (1) 446 American with _] 660 Occupational 865 RSI (405(g))

-] 900 Appeal of Fee Determi- 230 Rent Lease & Ejectment = et Disabilities - Safety Health | FEDERAIPAX SUITS"!
nation Under Equal 240 Torts to Land [} 462 Naturalization Other _] 690 Other 870 Taxes (U.S. Plaintiff
Access to Justice 245 Tort Product Liability Application [] 440 Other Civil or Defendant)

] 950 Constitutionality of State{~] 290 All Other Real Property [_] 463 Habeas Corpus- Rights 871 IRS-Third Party 26
Statutes Alien Detainee USC 7609

{_} 465 Other Immigration
Actions Pie G453
> + re

 

 

‘OR OFFICE USE ONLY: = Case Number:

 

AFFER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

¥-71 (05/08)

 

CIVIL COVER SHEET ican LegaiNet, ine. Page 1 of 2
www. Forms Workfiow.com

 

 

 
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CIVIL COVER SHEET

VIH(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? kK No [] Yes
f yes, list case number(s):

 

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? [X] No [_] Yes
f yes, list case number(s):

 

-ivil cases are deemed related if a previously filed case and the present case:

Check all boxes that apply) [] A. Arise from the same or closely related transactions, happenings, or events; or
(_] B. Call for determination of the same or substantially related or similar questions of law and fact; or
[-] C. For other reasons would entail substantial duplication of labor if heard by different judges: or
[7] D. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

X. VENUE: (When completing the following information, use an additional sheet if necessary.)

a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
“]_ Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).
County in this District:*

 

California County outside of this District, State, if other than California; or Foreign Country

 

Los Angeles County

 

 

2) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
“]__ Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

County in this District:*

 

California County outside of this District; State, if other than California; or Foreign Country

 

Republic of Italy

 

) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* California County outside of this District; State, if other than California: or Foreign C country

 

-os Angeles County

 

 

Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
ote: In land condemnation cases, use the location of the tracLof land involwgd

. SIGNATURE OF ATTORNEY (OR PRO PER): SS JO Cc. —_—~ Date June 4, 2012

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3 -1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

ey to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.

Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

 

862 BL All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended. .

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
ULS.C. (g))

¥-71 (05/08) CIVIL COVER SHEET Page 2 of 2

 

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www.FormsWorkflow.com

 

 

 

 

 
